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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF KENTUCKY
                         OWENSBORO DIVISION
                       CIVIL NO: 4:18-CV-00066-JHM

    UNITED STATES OF AMERICA                                     PLAINTIFF

    V.

    STEVEN LANGLEY, ET AL                                   DEFENDANTS

                 REPORT OF WARNING ORDER ATTORNEY

          Comes Dax R. Womack, Warning Order Attorney, and for his Report,

    states as follows:

          1.     That he was appointed Warning Order Attorney by the U.S.

    District Court on April 9, 2019, to advise Defendants, Donald Langley, as

    heir of Arthetta Gregory; Trinity Love also known as Trinity Langley,

    Spouse of Gary Langley; Any unknown Heirs and Spouses of Heirs of

    Arthetta Gregory; Any Unknown Spouse of Arthetta Gregory; and Unknown

    Occupant(s), Tenant(s) or Lessee(s) of 221 N. Church Street, Madisonville,

    Kentucky 42431, of the nature and pendency of this action.

          2.     That a Complaint was served upon said Defendants by certified

    mail, at Donald Langley, as Heir of Arthetta Gregory, 144 Center Ridge

    Drive, Providence, Kentucky 42450; Trinity Love also known as Trinity

    Langley, Spouse of Gary Langley at 1100 Eastside Lane, Apt. 3,

    Madisonville, Kentucky 42431-277; Any unknown Heirs and Spouses of
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    Heirs of Arthetta Gregory, address unknown; Any unknown spouse of

    Arthetta Gregory, address unknown; and Unknown Occupant(s), Tenant(s)

    or Lessee(s) of 221 N. Church Street, Providence, Kentucky 42431 at 221 N.

    Church Street, Madisonville, Kentucky 42431. Defendants have not yet

    filed an Answer.

          3.     That the green “certified” receipt was signed for By Robin

    Taylor at the address of Mr. Donald Langley, As Heir of Arthetta Gregory at

    144 Center Ridge Drive, Providence, Kentucky 42450. That all other “green

    cards” were returned “Unclaimed”. Mr. Donald Langley contacted Womack

    Law Office LLC. Mr. Langley stated he did not know what this was about

    and had no interest in the property located at 221 N. Church Street,

    Madisonville, Kentucky 42431. I encouraged him to seek representation

    should he intend to pursue any interest. No other Defendant(s) contacted

    this attorney and therefore on behalf of the above-named Defendant(s)

    pleads all affirmative defenses which could be asserted on their behalf in this

    action.

          WHEREFORE, Dax R. Womack prays that this be adopted as his

    report; that the rights of said Defendant(s) be protected; and that he be

    allowed a reasonable fee for his services herein.
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                                           ___/s/Dax R. Womack__________
                                           WOMACK LAW OFFICE, LLC
                                           304 First Street
                                           P.O. Box 637
                                           Henderson, Kentucky 42419-0637
                                           (270) 826-5040

                       CERTIFICATE OF SERVICE

           I hereby certify that on June 20, 2019 a copy of the foregoing Motion
    was filed electronically with the Clerk of the Court. Notice of this filing will
    be sent to the following parties by operation of the Court’s CM/ECF system.

          Hon. William F. Campbell
          Asst U.S. Attorney; Bill.campbell@usdoj.gov

          I hereby certify that on June 20, 2019 a copy of the foregoing Motion
    was mailed, by first-class U.S. Mail, postage prepaid and addressed to the
    following:

          None
                                           ___/s/Dax R. Womack__________
                                           WOMACK LAW OFFICE, LLC
                                           304 First Street
                                           P.O. Box 637
                                           Henderson, Kentucky 42419-0637
                                           (270) 826-5040
                                           info@womacklawofficellc.com
